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O AO 247 (02/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                   for the
                                                       EASTERN District of CALIFORNIA

                     United States of America                        )
                                v.                                   )
                                                                     )   Case No: 1:03CR5054
                      RAY ANTHONY BOBO
                                                                     )   USM No: 61099-097
Date of Previous Judgment: November 5, 2003                          )   David Porter, Asst. Federal Defender
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 70          months is reduced to 60 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    25               Amended Offense Level:                                             23
Criminal History Category: III              Criminal History Category:                                         III
Previous Guideline Range:  70  to 87 months Amended Guideline Range:                                           60        to 71   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated               11/05/2003    shall remain in effect.
IT IS SO ORDERED.

Order Date:          April 21, 2008                                                       /s/ OLIVER W. WANGER
                                                                                                  Judge’s signature


Effective Date:                                                                   Oliver W. Wanger, U. S. District Judge
                      (if different from order date)                                            Printed name and title
